Case 1:17-cv-02374-HG-ST Document 123 Filed 03/03/22 Page 1 of 1 PageID #: 1332




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                                            March 3, 2022

 The Honorable Steven Tiscione
 United State District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                              Re:    Capital 7 v. Wingfield, et al
                                     17 CV 04275

 Dear Judge Tiscione:

 Please be advised that as of this date Defendants Joseph Rabito and Damian Laljie have provided
 every document in their possession that is responsive to Plaintiff’s discovery demands dated
 December 21, 2021. This production will moot Plaintiff’s motion to compel.

                                            Sincerely,

                                            s/ Daniel L. Bibb

                                            Daniel L. Bibb, Esq.
                                            Attorney for Joseph Rabito and Damian Laljie
